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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF MARYLAND



ASHLEY ALBERT, et al.,                                    Civil Action No. 8:20-CV-01936-
                                                          PWG
                             Plaintiffs,


       v.


GLOBAL TEL*LINK CORP., et al.,

                             Defendants.


                 MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

       Pursuant to Local Rule 101(2)(b), it is hereby requested that the appearance of Rosa

Evergreen of Arnold & Porter Kaye Scholer LLP be withdrawn as counsel for Defendant Global

Tel*Link Corporation in this matter. Defendant Global Tel*Link will continue to be represented

by Jonathan I. Gleklen of the same firm.



July 23, 2020

                                           By:   /s/ Jonathan I. Gleklen
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